                        UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN

IN RE:

ELITE ROOF GROUP, LLC.                                   Case No. 23-31987
                                                         Chapter 11 proceeding

             Debtor.                                     Judge: Joel D. Applebaum
                                      /

                              BALLOT SUMMARY REPORT


          1. On March 14, 2024, Elite Roof Group filed its Plan of Reorganization of

   Debtors Under Subchapter V of Chapter 11 of the Bankruptcy Code at Docket No. 62.

          2. Pursuant to the Order Establishing Deadlines and Procedures in the Case of

   a Small Business Debtor who has Elected to have Subchapter V of Chapter 11 Apply

   (Docket No. 31), all ballots and objections to confirmation of the Plan were due by

   April 12, 2024.

          3. The Debtor received 4 ballots.

          4. The Debtors are required to submit to the court a Ballot Summary indicating

   the ballot count under LBR 3018-1 and 11 USC §1126(c)-(d). The votes cast are as

   follows (while Morningside has filed two claims and two ballots Elite is not waiving

   any objection to that bifurcation in this summary):




           Class of            Name of             Amount            Vote
           Creditor
                               Creditor

           Class 1             American            $1,300,000.00     Accepts the Pan
                               Builders &
                               Contractors
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           Class 1             Joshua Shonts       $85,000          Accepts the
                                                                    Plan
           Class 1             Morningside         $443,305.68      Rejects the Plan
                               Maiden Lane,
                               LLC


           Class 1             Morningside       $456,069.25        Rejects the Plan
                               1100 Contractors,
                               LLC




          5. Attached as Exhibit A are copies of the ballots.

          6. The Debtor respectfully submits this Summary of Ballot Report as required

   by LBR 3018-1.

                                                Respectfully Submitted,


                                                Simen, Figura & Parker, P.L.C.
                                                Attorneys for Debtor



Dated: April 19, 2024                            /s/ Peter T. Mooney
                                                 Peter T. Mooney (P47012)
                                                 5206 Gateway Centre Ste 200
                                                 Flint, MI 48507
                                                 pmooney@sfplaw.com




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